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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

CORNELL SMITH,

               Plaintiff,                        CRIMINAL CASE NO. 04-80857
vs.                                              CIVIL CASE NO. 07-11145
                                                 HON. LAWRENCE P. ZATKOFF
                                                 MAGISTRATE JUDGE DONALD A. SCHEER
UNITED STATES OF AMERICA,

            Defendant.
_____________________________/

                      OPINION AND ORDER ADOPTING
             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       This matter comes before the Court on Magistrate Judge Scheer’s Report and

Recommendation [dkt 283] of December 13, 2007, in which the Magistrate Judge recommends

denying Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence [dkt 224]. Petitioner has not

filed an objection to the Report and Recommendation. The Court has thoroughly reviewed the court

file and the Report and Recommendation. As a result of that review, the Court ADOPTS the Report

and Recommendation and enters it as the findings and conclusions of this Court as it pertains to the

denial of Petitioner’s Motion.

       Therefore, IT IS HEREBY ORDERED that Petitioner’s complaint is DISMISSED with

prejudice.

       IT IS SO ORDERED.



                                              s/Lawrence P. Zatkoff
                                              LAWRENCE P. ZATKOFF
                                              UNITED STATES DISTRICT JUDGE

Dated: February 8, 2008
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of record
by electronic or U.S. mail on February 8, 2008.


                                             s/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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